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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA

                                            )
DALE JUSTICE, FELIX                         )
MATTHIESSEN, ROHAN                          )
ZACHARIAH,                                  )
                                            )
         Plaintiffs,                        ) Case No. ______________________
                                                        7:19cv62
                                            )
-vs-                                        ) JURY DEMAND
                                            )
                                            )
WOODS ROGERS PLC. and LEAH                  )
STIEGLER,                                   )
                                            )
         Defendants.                        )




                                     COMPLAINT



       COME NOW THE PLAINTIFFS, DALE JUSTICE, FELIX MATTHIESSEN,

AND ROHAN ZACHARIAH and sue the Defendants, WOODS ROGERS PLC., and

LEAH STIEGLER and would state unto the Court as follows:

                                           I.
                                      Introduction

1.     The Plaintiffs, Dale Justice, Felix Matthiessen and Rohan Zachariah make up the

musical group known as The Dale Justice Band. Mr. Matthiessen is a foreign national and

citizen of Sweden. Mr. Zachariah is a foreign national and citizen of India. Mr. Justice is

a citizen of the United States and was the Petitioner on behalf of both Mr. Matthiessen

and Mr. Zachariah for O-1 and O-2 nonimmigrant visas. They bring this action for

compensatory and consequential damages arising out of the Defendants’ legal


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malpractice and breach of contract which currently leaves Mr. Zachariah subject to a

three year bar from re-entering the United States; and Mr. Matthiessen is required to

depart the United States in order to re-enter under a different non-immigrant status due to

the flaws of the initial I-129 filing. However, the fundamental flaws in Mr. Matthiessen’s

application have opened him up to a potential life-time bar from re-entering the United

States.

                                               II.
                                          Jurisdiction


2.        This United States District Court has jurisdiction of this action and over the

parties pursuant to 28 U.S.C. § 1332, in that Plaintiffs Rohan Zachariah and Felix

Matthiessen are foreign nationals and citizens of India and Sweden, Plaintiff Dale Justice

is a citizen of Smyrna, Tennessee, and the two Defendants are citizens of Roanoke,

Virginia.



3.        Venue of this action is proper in this Court pursuant to 28 U.S.C. § 1391 in that

this is the judicial district in which one of the parties reside, and a substantial part of the

acts or omissions giving rise to the claim occurred within this judicial district.

                                              III.
                                             Parties


4.        Plaintiff, Dale Justice, is an adult citizen of Smyrna, Tennessee.



5.        Plaintiff, Rohan Zachariah, is an adult citizen of India.




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6.      Plaintiff, Felix Matthiessen, is an adult citizen of Sweden.



7.      Defendant, Woods Rogers PLC., is a professional limited liability company that

was formed under the laws of the State of Virginia. This Defendant operates a law office

at 10 S. Jefferson Street Suite 1400, Roanoke, Virginia 24011. Its registered agent for

service of process within the state of Virginia is Mark D. Loftis, who may be served at 10

S. Jefferson Street Suite 1400, Roanoke, Virginia 24011.



8.      Defendant Leah M. Stiegler, is an adult citizen and resident of Roanoke, Virginia,

and is an attorney licensed to practice in the State of Virginia. At all times relevant, Ms.

Stiegler was an attorney employed by Woods Rogers PLC., and was acting in the course

and scope of her agency as an employee of this defendant.



                                            IV.
                                           Facts


9.      Dale Justice is a citizen of the United States and is the founder, band leader and

vocalist of the band, The Dale Justice Band (“The Band”). He retained Ms. Stiegler to

represent him as Petitioner in filing immigration benefits for Mr. Zachariah and Mr.

Matthiessen.



10.     In 2015, Mr. Justice, Mr. Zachariah and Mr. Matthiessen formed the Dale Justice

Band.




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11.    In 2017, the Band produced its first mainstream album and it was at that time that

Mr. Justice offered full-time employment to Mr. Zachariah and Mr. Matthiessen. The

intended period of employment offered was March 1, 2018 until March 1, 2020.



12.    In October 2017, the Band sought legal counsel with Woods Rogers PLC. and

specifically with Leah Stiegler to represent them and to explore options for pursuing legal

nonimmigrant status to allow Mr. Zachariah and Mr. Matthiessen to work legally in the

United States.



13.    Time was a critical factor for Mr. Zachariah because his F-1 student visa Optional

Practical Training (“OPT”) period was due to expire on October 30, 2017. This gave him

only a 60 day grace period until December 30, 2017 within which to change his status.

This meant that any application for Mr. Zachariah needed to be filed with USCIS on or

before December 30, 2017.



14.    Mr. Matthiessen’s OPT period was due to expire on February 5, 2018, giving him

a 60 day grace period until April 6, 2018 within which to change his status. This meant

that any application for Mr. Matthiessen needed to be filed with USCIS on or before

April 6, 2018.



15.    Ms. Stiegler represented herself to Mr. Justice, Mr. Zachariah and Mr.

Matthiessen as an attorney who was knowledgeable and experienced in the area of

immigration law, and specifically with O-visas.



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16.     During the first meeting with Ms. Stiegler, the Plaintiffs informed her that they

were interested in the most prudent and expeditious method of acquiring a change of

status to allow Mr. Zachariah and Mr. Matthiessen to legally work in the United States.



17.     Ms. Stiegler advised the Plaintiffs that there were two options for Mr. Zachariah

and Mr. Matthiessen, either a P visa, or an O visa. Initially, she stated that her

recommendation was that the Plaintiff’s pursue a P-1B visa, which is for an individual

who is a member of an entertainment group that has been recognized internationally.



18.     Ms. Stiegler advised the Plaintiffs that she would confirm with her supervisor

Anthony Monioudis, regarding which visa would be most appropriate for their particular

situation.



19.     Ms. Stiegler asked for more information regarding the music industry, the Band’s

booking agency Seasons, and whether Dale Justice Band was a sole proprietorship.



20.     October 16, 2017, Ms. Stiegler advised the Plaintiffs that their best course of

action would be to apply for an O-1B visa for Mr. Zachariah, and an O-2 visa, (which is

used for “accompanying support personnel”) for Mr. Matthiessen.




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21.    She advised that the P visa was not appropriate, because she felt that in order to

apply for a P-visa the Band would have had to provide evidence that it was

“internationally recognized”.



22.    The evidence required to demonstrate international recognition for the P-visa is

the same as the O-visa. However, the standard of review, regarding international

recognition, is a lower standard in the case of a P-visa. Thus, making the P-visa a better

choice in the Band’s situation.



23.    Having no further contact from Ms. Stiegler after the email from October 16,

2017, and with the clock ticking for Mr. Zachariah, Mr. Justice sent Ms. Stiegler another

email inquiring about the filing of the immigration application.



24.    Ms. Stiegler replied by email on October 23, 2017:




25.    In her email on October 23, 2017, Ms. Stiegler instructed the Plaintiffs to fill out

an I-140 application, which is completely the wrong form.


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26.     In obedience to Ms. Stiegler’s advice, and in order to obtain the two O-visas, Mr.

Justice, Mr. Zachariah and Mr. Matthiessen handled their own preparation of the

recommended form. They were never given a document list by Ms. Stiegler, and lacking

any professional guidance, simply gathered anything that they thought was relevant for

their case.



27.     Ms. Stiegler talked to the Plaintiffs about obtaining a union letter. However, she

admitted that she did not know whether any labor union organizations existed for the

music industry.



28.     During the discussions regarding the union letter, Ms. Stiegler gave the Plaintiffs

the impression that they would have to join a union, in order to obtain the needed union

letter for their application; something the band did not want to do.



29.     Ms. Stiegler apparently did not know that on the USCIS website, there is an

address index for I-129 O and P Consultation Letters. She also apparently did not know

about the American Federation of Musicians (AFM), which is listed on the USCIS

website, as the only union in existence specifically for musicians. And she did not know

or understand the process the AFM utilizes to issue a consultation letter, otherwise known

as a union letter.




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30.       The union letter is a fundamental requirement from USCIS for all I-129 O visa

applications. Obtaining the union letter is a rather simple process, as explained on their

website, which includes sending AFM the following documents:

      •   Completed AFM questionnaire.

      •   Cover letter explaining who the musicians are, where they are from, and what

          qualifies them as culturally unique or internationally renowned.

      •   Copy of the completed USCIS Form I-129.

      •   Copies of any written contracts between the petitioner and the alien beneficiary,

          including what wages will be earned; or, if there is no written contract, a summary

          of the terms of the oral agreement under which the alien(s) will be employed.

      •   Copy of the itinerary for appropriate employment period.

      •   Support materials such as reviews, CD covers, programs, etc. which establishes

          the group or instrumental artist. Support materials must feature the

          instrumentalists.

      •   Corporate check, cashier’s check or money order for $250.



31.       It was Ms. Stiegler’s duty to explain the process for obtaining the union letter, and

had she effectively explained this process then the Plaintiffs would have complied.



32.       Furthermore, Ms. Stiegler told the Plaintiffs they would need to establish a formal

entity in order for the Band to serve as Petitioner, or otherwise obtain an

agent/representative. Neither of these conditions are necessary or required by USCIS.




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33.     In fact, had Mr. Justice, as Petitioner, created a formal legal entity for the band,

and made the band members owners of the entity (per Ms. Stiegler’s advice), this would

have complicated the process by making the Plaintiffs beneficiaries of the petitioning

entity, i.e. the band.



34.     Ms. Stiegler also told the Band they would need to obtain an FEIN number

otherwise known as a tax ID number; however, the USCIS imposes no such requirement .



35.     The Plaintiffs gathered any information they believed to be relevant regarding

their music careers. They were provided with          no legal guidance by Ms. Stiegler

regarding what they should gather. In the absence of such advice, they turned to their

industry friends who had gone through the same process, and were left to guess as to

what documents Ms. Stiegler would need in order to file the I-129 applications.



36.     Still concerned about fees being charged by the Defendants for legal services and

the USCIS application, and their apparent inexperience in such matters, Plaintiffs

inquired about seeking legal counsel in Los Angeles.



37.     Ultimately, the Plaintiffs decided to utilize the services of Ms. Stiegler, and on

December 18, 2017, they met with her in person. They signed the engagement letter and

gave Ms. Stiegler all of the documents that they previously discussed in correspondence

on October 23, 2017.




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 38.     Ms. Stiegler was out of the office from December 26, 2017 through January 1,

 2018.



 39.     Mr. Zachariah’s OPT grace period status expired on December 30, 2017.



 40.     No substantive legal work on the I-129 applications for Mr. Zachariah and Mr.

 Matthiessen began until January of 2018, well after the deadline passed for Mr. Zachariah

 to legally change his status with USCIS.



 41.     Knowing that the deadline had passed for Mr. Zachariah, the Plaintiffs repeatedly

 asked Ms. Stiegler when the application would be filed, not understanding that Mr.

 Zachariah’s petition was already doomed.



 42.     Ms. Stiegler requested a few more documents and clarification on some of the

 documents submitted. She even asked the Plaintiffs if they could obtain a copy of one of

 their friend’s O-1 packets to use a template.



 43.     Ms. Stiegler simply wrote the support letter, organized the accompanying

 documentation and filed the I-129 packet.



 44.     Ultimately, the I-129 Application for O-1B and O-2 visas for Mr. Zachariah and

 Mr. Matthiessen were filed with USCIS on February 22, 2018, almost two months after

 Mr. Zachariah was considered out of status.



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 45.    On May 21, 2018, the Plaintiffs received a Request for Evidence (“RFE”) from

 USCIS for Mr. Matthiessen and Mr. Zachariah. The Response for each RFE was due

 August 16, 2018.



 46.    The RFE for Mr. Zachariah was nine pages long, and broke down all of the

 missing and insufficient evidence submitted by Ms. Stiegler in the original I-129

 application. One notable deficiency was the representation that Mr. Zachariah was only a

 “good student”, and not at the top of his field.



 47.    The RFE for Mr. Matthiessen, was four pages in length, and broke down all of the

 missing and insufficient evidence submitted by Ms. Stiegler in the original I-129

 application. Most notably the RFE stated there was no evidence to support the claim that

 Mr. Matthiessen worked for Mr. Zachariah; nor was there an explanation of his role in

 setting up his drum equipment. The RFE stated the evidence submitted, “falsely stated

 that he was a guitarist for the Band”.



 48.    The most significant issue with Mr. Matthiessen’s O-2 application was the fact

 that Ms. Stiegler falsely claimed Mr. Matthiessen was Mr. Rohan’s drum technician. Mr.

 Matthiessen has always been the main guitar player for the Band. But to confuse the issue

 Ms. Stiegler claimed he was Mr. Rohan’s drum tech in the application and the cover

 letter, but submitted conflicting evidence demonstrating that he was the guitar player.




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 49.    Ms. Stiegler framed the basis for the O-2 application for Mr. Matthiessen around

 the erroneous fact that he was Mr. Zachariah’s drum technician; however, she submitted

 no evidence whatsoever to support this claim of that fact and was proven to be untrue.



 50.    Upon receipt of the two RFE’s, the Plaintiffs immediately contacted Ms. Stiegler.

 She told the Plaintiffs that she could not help them and they needed to seek alternate

 counsel.



 51.    In June 2018, the Plaintiffs met with immigration specialist Michael C.

 Smallbone, Esq. in Franklin, Tennessee to discuss the RFE’s. Mr. Smallbone is a

 specialist in O-visas, he informed the Plaintiffs of the catastrophic errors that had been

 made in their I-129 O-visa filing.



 52.    Mr. Smallbone assisted Mr. Zachariah and Mr. Matthiessen answer the Request

 for Evidence, and filed a “Nunc Pro Tunc” request with USCIS, on August 16, 2018.



 53.    On October 2, 2018, USCIS denied Mr. Zachariah and Mr. Matthiessen’s I-129

 application’s for O-1B and O-2 immigrant visas.



 54.    As a proximate and foreseeable result of Ms. Stiegler’s actions and omissions

 both Mr. Zachariah and Mr. Matthiessen are out of status. Mr. Zachariah is facing a three

 (3) year bar from re-entering the United States. And Mr. Matthiessen is potentially facing

 a lifetime bar from re-entering the United States.



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 55.    As a consequence of the Defendants’ actions, the Plaintiffs have suffered financial

 devastation including the loss of a U.S. tour with a recognized artist, Shooter Jennings

 and the 357’s that was to start in June 2018. They have also forfeited their negotiations

 with Colter Wall for a tour in January 2019, as well as an opening act engagement with

 an artist, Tim Bolo. Furthermore, they were regularly employed at a venue knowns as

 Layla’s Honky Tonk, playing approximately four shows per month. The Dale Justice

 Band is now incapable of playing any shows or committing to any future shows or tour

 dates in the United States because Mr. Zachariah and Mr. Matthiessen do not have work

 authorization. Likewise, they are incapable of promoting their first album as well as

 incapable of committing to creating their second album.



 56.    Mr. Zachariah departed the United States on November 27, 2018 because he was

 no longer able to reside in the United States legally.



 57.    Mr. Matthiessen and Mr. Justice are scheduled to depart the United States on

 January 27, 2019, as Mr. Matthiessen is no longer able to reside in the United States after

 March 31, 2019.



 58.    The Band has had to put their careers on hold in the United States as a

 consequence of Ms. Stiegler’s ineffective counsel, her complete lack of knowledge, and

 the false statements she made on their applications. They are now forced to start their

 careers over in Europe for the time being, starting from the bottom and working their way

 up once again.



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 59.    The Band also faces the reality that if they are ever allowed to return to the United

 States, they will have to start from the beginning again in their immigration process

 because they have now forfeited once-in-a-lifetime opportunities.



 60.    In addition, the Plaintiffs have suffered, and continue to suffer disruption of their

 personal lives, extreme emotional hardship, mental anguish, humiliation and

 embarrassment.

                                   V. Causes of Action

                                    Legal Malpractice

 61.    Plaintiffs incorporate by reference herein ¶¶ 1 through 60, and further allege as

 follows.



 62.    An attorney who undertakes representation of a client is required to execute the

 business entrusted to their professional management with a reasonable degree of care,

 skill and dispatch.



 63.    The relationship of attorney-client existed between Dale Justice, Rohan

 Zachariah, Felix Matthiessen and Woods Rogers PLC.



 64.     The relationship of attorney-client existed between Dale Justice, Rohan

 Zachariah, Felix Matthiessen and Leah Stiegler.




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 65.    Each of the Defendants owed a duty to provide legal representation with a

 reasonable degree of care, skill and dispatch.



 66.    The Defendants’ conduct as set forth herein constitutes a neglect of their duties, as

 well as reckless or careless disregard of their professional obligations owed to the

 Plaintiffs and entitles the Plaintiffs to recovery of actual damages.



 67.    Ms. Stiegler clearly did not have the requisite knowledge or experience needed to

 sufficiently handle an O-1 and O-2 visa applications.



 68.    Ms. Stiegler did not understand the USCIS requirements for the O-visa

 applications as demonstrated by her repeated insistence that the Band incorporate or form

 some sort of legal entity, obtain an FEIN number and obtain an agent, neither of which

 are required by the USCIS.



 69.    Ms. Stiegler also did not have the requisite knowledge or experience with

 obtaining the fundamental union letter. She lacked any understanding of the American

 Federation of Musicians or its protocol; nor did she have the requisite knowledge or

 understanding regarding how to obtain a needed union letter from the AFU.



 70.    Ms. Stiegler also negligently and carelessly mispresented facts on the O-2

 application and support letter regarding Mr. Matthiessen, which will likely now have




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 detrimental effects on his ability to gain immigration benefits, and may also potentially

 bar him forever from entering the United States.



 71.     Ms. Stiegler completely missed the filing date for Mr. Zachariah. She

 demonstrated a complete lack of understanding or appreciation of the significance of this

 filing deadline.



 72.     As a proximate result of the Defendants’ breach of their duties, the Plaintiffs have

 suffered damages for which they are entitled to judgment.



                                      Breach of Contract



 73.     Plaintiffs incorporate by reference herein ¶¶ 1 through 72, and further allege as

 follows.



 74.     The Defendants contracted with the Plaintiffs to provide competent, legal

 representation in securing lawful O-status in the United States. The Defendants owed the

 Plaintiffs at all time a duty of good faith and fair dealing.



 75.     The Defendants completely failed to perform their part of this bargain.



 76.     The Defendants’ actions and omissions as set forth herein constitute a breach of

 contract.



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 77.    The scope of representation, as set in the December 18, 2017, retainer agreement

 between the Plaintiffs and the Defendants, states the Defendants would give “advice and

 counsel regarding the filing of these petitions and the overall process with USCIS.”



 78.    Ms. Stiegler breached this contractual duty and promise by failing to provide the

 Plaintiffs with the correct information, and misinforming them that they could still file

 after Mr. Zachariah’s PTO expired. Furthermore, Ms. Stiegler failed to provide the

 Plaintiffs with accurate advice and counsel regarding the filing of these petitions.



 79.    As a consequence of the Defendants’ breach of contract, the Plaintiffs have

 incurred compensatory, consequential, and incidental damages for which they are entitled

 to judgment.



 WHEREFORE, PREMISES CONSIDERED, PLAINTIFFS PRAY:



 1.     That they be allowed to file this complaint and that process issue to the

 Defendants, Woods Rogers PLC. and Leah Stiegler, requiring them to answer within the

 time required by law;



 2.     That a jury of six be empaneled to hear and try all issues of fact in this case;




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 3.     That at the final hearing in this case the Plaintiffs have and recover judgment

 against the Defendant, WOODS ROGERS PLC., for compensatory damages in the

 amount of $21,990;



 4.     That the final hearing in this case the Plaintiffs have and recover judgment against

 the Defendant LEAH STIEGLER, for compensatory damages in the amount of $21,990;



 5.     That at the final hearing in this case the Plaintiffs have and recover judgment

 against the Defendant WOODS ROGERS PLC., for consequential damages in the

 amount of $246,151.42.



 6.     That at the final hearing in this case the Plaintiffs have and recover judgment

 against the Defendant LEAH STIEGLER., for consequential damages in the amount of

 $246,151.42.



 7.     That the Plaintiffs have and recover such further and general relief as to which

 they may be entitled, including attorney’s fees and costs for this case.




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                                     Respectfully submitted,


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